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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL         ‘O’
                    2:13-cv-08833-CAS(AGRx)
 Case No.           2:16-cv-04166-CAS(AGRx)           Date November 14, 2016
 Title              BARBARA WALDRUP v. COUNTRYWIDE FINANCIAL
                    CORPORATION ET AL.

                    ELIZABETH WILLIAMS ET AL. v. COUNTRYWIDE FINANCIAL
                    CORPORATION ET AL.



 Present: The Honorable          CHRISTINA A. SNYDER
           Catherine Jeang                           Not Present                        N/A
            Deputy Clerk                      Court Reporter / Recorder               Tape No.
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
              Not Present                        Not Present
 Proceedings:     (IN CHAMBERS) - PLAINTIFF BARBARA WALDRUP’S
                  MOTION TO CONSOLIDATE (2:13-cv-08833, dkt. 132, filed
                  September 12, 2016)

                           (IN CHAMBERS) DEFENDANTS COUNTRYWIDE FINANCIAL
                           CORPORATION, COUNTRYWIDE HOME LOANS,
                           COUNTRYWIDE BANK, N.A., BANK OF AMERICA
                           CORPORATION, LANDSAFE INC., AND LANDSAFE
                           APPRAISAL, INC.’S MOTION TO STAY ACTION (2:16-cv-
                           04166, dkt. 24, filed August 29, 2016)

      The Court finds this motion appropriate for decision without oral argument. See
Fed. R. Civ. P. 78; C.D. Cal. Local Rule 7-15. Accordingly, the hearing date of
November 14, 2016 is vacated, and the matter is hereby taken under submission.

I.       INTRODUCTION

      Plaintiff Barbara Waldrup filed her class action complaint on November 27, 2013,
against defendants Countrywide Financial Corporation, Countrywide Home Loans,
Countrywide Bank, N.A., Bank Of America Corporation, Landsafe Inc., and Landsafe
Appraisal, Inc. (“defendants”). 2:13-cv-08833 (“Waldrup”) dkt. 1. Following motions to
dismiss and amendments, Waldrup filed her operative Third Amended Complaint on
October 27, 2014. Waldrup dkt. 46 (“Waldrup TAC”). The Waldrup TAC alleges five
claims for relief: (1) violation of California’s Unfair Competition Law (“UCL”), Cal.

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Bus. & Prof. Code §§ 17200, et seq.; (2) violation of the Racketeer Influenced and
Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(c); (3) conspiracy to engage in
racketeering in violation of RICO; (4) fraud; and (5) unjust enrichment. Id. Waldrup
defines her class as “[a]ll residents of the United States of America who, during the
period January 1, 2003 through December 31, 2008, obtained an appraisal from LandSafe
in connection with a loan originated by Countrywide.” Waldrup TAC ¶ 83.

       On June 10, 2016, plaintiffs Elizabeth Williams, Rebecca Murphy, and Beckie
Reaster (“Williams plaintiffs”) filed their class action complaint against defendants.
2:16-cv-04166 (“Williams”) dkt. 1. Also on June 10, 2016, the Williams plaintiffs filed a
notice that the Williams and Waldrup actions are related cases. Williams dkt. 5. On June
16, 2016, this Court related the Williams case to the Waldrup case. Williams dkt. 9.

       The Williams plaintiffs seek relief on behalf of a nationwide class that is identical
to the class identified in the Waldrup TAC. Williams dkt. 1 ¶ 117 (“Williams Compl.”).
The Williams plaintiffs also assert claims on behalf of two subclasses of California and
Florida residents. Id. Like Waldrup, the Williams plaintiffs allege claims under RICO,
the UCL, and for unjust enrichment. Williams Compl. In addition, the Williams
plaintiffs assert claims under the Real Estate Settlement Procedures Act (“RESPA”), 12
U.S.C. § 2607, and Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”),
Fla. Stat. §§ 501.201, et seq.

       On August 29, 2016, defendants filed a motion to stay proceedings in the Williams
action pending the adjudication of Waldrup’s motion for class certification. Williams
dkt. 24-1. The Williams plaintiffs filed their opposition to defendants’ motion on
October 13, 2016, Williams dkt. 27, and defendants filed their reply on October 28, 2016,
Williams dkt. 28.

       On September 12, 2016, Waldrup filed a motion to consolidate the Waldrup and
Williams actions. Waldrup dkt. 132. Also on September 12, 2016, the Williams
plaintiffs filed a notice of non-opposition to Waldrup’s motion. Wiliams dkt. 26.


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Defendants filed their opposition to Waldrup’s motion on October 13, 2016. Waldrup
dkt. 140. Waldrup filed her reply on October 28, 2016. Waldrup dkt. 145.

II.      LEGAL STANDARDS

       Federal Rule of Civil Procedure 42(a) permits the Court to consolidate actions
involving a common question of law or fact, and consolidation is proper when it serves
the purposes of judicial economy and convenience. “The district court has broad
discretion under this rule to consolidate cases pending in the same district.” Investors
Research Co. v. United States District Court for the Central District of California, 877
F.2d 777 (9th Cir. 1989). “In determining whether to consolidate, a court weighs the
interest in judicial convenience against the potential for delay, confusion, and prejudice
caused by consolidation.” Ferguson Corinthian Colleges Inc., No. 11-cv-0127-DOC,
2011 WL 1519352, at *2 (C.D. Cal. Apr. 15, 2011) (quotation marks omitted); see also
Huene v. United States, 743 F.2d 703, 704 (9th Cir. 1984) (“The district court, in
exercising its broad discretion to order consolidation of actions presenting a common
issue of law or fact under Rule 42(a), weighs the saving of time and effort consolidation
would produce against any inconvenience, delay, or expense that it would cause,” in
addition to any prejudice that may result.”). “[T]ypically, consolidation is favored.” Ho
Keung Tse v. Apple, Inc., No. 12-cv02653-SBA, 2013 WL 451639, at *3 (N.D. Cal. Feb.
5, 2013).

       A district court has discretionary power to stay proceedings in its own court. See
Landis v. North American Co., 299 U.S. 248, 254 (1936). Accordingly, the court “may,
with propriety, find it is efficient for its own docket and the fairest course for the parties
to enter a stay of an action before it, pending resolution of independent proceedings
which bear upon the case.” Leyva v. Certified Grocers of Cal. Ltd., 593 F.2d 857, 863
(9th Cir. 1979). However, case management concerns alone are not necessarily a
sufficient ground to stay proceedings. See Dependable Highway Express v. Navigators
Ins. Co., 498 F.3d 1059, 1066 (9th Cir. 2007). “‘[I]f there is even a fair possibility that
the stay . . . will work damage to someone else,’ the stay may be inappropriate absent a
showing by the moving party of ‘hardship or inequity.’” Id. (quoting Landis, 299 U.S. at

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255). Further, “being required to defend a suit, without more, does not constitute a ‘clear
case of hardship or inequity’ within the meaning of Landis.” Lockyer v. Mirant Corp.,
398 F.3d 1098, 1112 (9th Cir. 2005).

IV.      DISCUSSION

      The parties agree that the Waldrup and Williams actions present common
questions of law and fact. See Waldrup dkt. 132; Williams dkt. 24-1 at 3–4. Indeed,
defendants themselves note: “the Williams Complaint involves the same defendants,
substantially the same claims, and alleged questions of law and fact as those set forth in
the Waldrup TAC. Further, the majority of the allegations in the Williams Complaint are
a copy/paste rehash of the allegations in the Waldrup TAC.” Williams dkt. 24-1 at 4.

       However, defendants argue that consolidation is not in the interests of judicial
economy because consolidation would delay the adjudication of Waldrup’s motion for
class certification. Dkt. 140 at 6. Defendants contend that they “should not be subjected
to additional discovery burdens.” Id. at 6–7.1 Defendants assert that consolidation would
create due process concerns if defendants were not permitted challenge the Williams
pleading under Federal Rules of Civil Procedure 9 or 12. Id. at 8. Defendants further
argue that the assertion of two additional claims in the Williams action counsels against
consolidation because the Court should determine whether Waldrup’s class-wide claims
can survive before determining whether to address state-specific claims predicated on the
same underlying facts. Id. at 9. Lastly, defendants contend that a stay of the Williams
action would not prejudice Waldrup or the Williams plaintiffs. Id. at 10–11.



         1
         Notwithstanding this contention, defendants assert in their reply in support of
their motion for a stay: “Given that the Williams Plaintiffs’ RESPA and FDUTPA claims
are already subsumed by the Waldrup TAC fact allegations, there is no additional
investigation or discovery needed for the procedural purposes of assessing class
certification.” Williams dkt. 28 at 4.
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       Waldrup concedes that the consolidation of the Waldrup and Williams actions will
likely require some modification to the current Waldrup scheduling order to allow
discovery to be taken concerning the two additional claims in Williams. Waldrup dkt.
132 at 7. Nonetheless, Waldrup argues that conducting entirely separate discovery
processes for each matter would waste even more judicial resources than any delay
resulting from consolidation. Waldrup contends that consolidation is in the overall
interests of judicial economy because the Court will be able to resolve similar legal and
factual issues at once. Id. Waldrup further argues that a stay of the Williams action
would be inefficient because, if the class in Waldrup is certified, upon the lifting of the
stay in Williams, plaintiffs would be required to rebrief class certification and
disseminate class notice for a second time. Waldrup dkt. 145 at 3.

        The Court agrees with Waldrup that consolidation ultimately serves the interests of
judicial economy, even if consolidation initially delays the Court’s consideration of
Waldrup’s class certification motion. In addition, “the law is clear that an act of
consolidation does not affect any of the substantive rights of the parties.” J. G. Link &
Co. v. Cont’l Cas. Co., 470 F.2d 1133, 1138 (9th Cir. 1972). Therefore, consolidation
does not divest defendants of the right to challenge the Williams’ plaintiffs’ complaint.
See Judge William W. Schwarzer et al., California Practice Guide: Federal Civil
Procedure before Trial § 16:140 (The Rutter Group 2016) (“[C]onsolidation does not
affect any separate right or defense asserted in any of the consolidated actions.”). The
Court therefore GRANTS Waldrup’s motion to consolidate and DENIES defendants’
motion to stay the Williams action as moot. See Jones v. Travelers Cas. Ins. Co. of Am.,
No. 13-cv-02390-LHK, 2013 WL 4511648, at *3 (N.D. Cal. Aug. 22, 2013) (denying
defendant’s motion for a stay where “[t]he discovery between the two claims likely
overlaps and even may be identical. Furthermore, the cost of having to move forward in
litigation absent the requested stay is insufficient to justify a stay.”). At this stage, the
cases are consolidated for pre-trial purposes only. The Court further concludes that the
Federal Rules of Civil Procedure set forth appropriate limitations on discovery and
declines to grant defendants’ request that the Court preclude additional discovery by the
Williams plaintiffs except as it relates to their loans and appraisals. See Williams dkt. 28
at 5 n.3.

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V.       CONCLUSION

       In accordance with the foregoing, the Court GRANTS Waldrup’s motion to
consolidate the Waldrup and Williams actions. At this stage, the cases are consolidated
for pre-trial purposes only. The Court DENIES defendants’ motion to stay the Williams
action as moot.

         IT IS SO ORDERED.
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                                                  Initials of Preparer        CMJ




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